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     MICHAEL BAILEY
 1   United States Attorney
     District of Arizona
 2
     KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
 3   MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
     PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
 4   ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
     Assistant U.S. Attorneys
 5   40 N. Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 6   Telephone (602) 514-7500
 7   JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
     Special Assistant U.S. Attorney
 8   312 N. Spring Street, Suite 1200
     Los Angeles, CA 90012
 9   Telephone (213) 894-3391
10   BRIAN BENCZKOWSKI
     Assistant Attorney General
11   Criminal Division, U.S. Department of Justice
12   REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
     Senior Trial Attorney, U.S. Department of Justice
13   Child Exploitation and Obscenity Section
     950 Pennsylvania Ave N.W., Room 2116
14   Washington, D.C. 20530
     Telephone (202) 616-2807
15   Attorneys for Plaintiff
16
                         IN THE UNITED STATES DISTRICT COURT
17
                              FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                             No. CR-18-422-PHX-SMB
20                        Plaintiff,
                                                     UNITED STATES’ SUBMISSION OF
21            v.                                     JURY QUESTIONNAIRE
22
     Michael Lacey, et al.,
23
                          Defendants.
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25         The proposed Jury Questionnaire (“JQ”) is due on February 7, 2020. (Doc. 822).
26   On January 27, 2020, the Government provided Defendants a draft of a proposed JQ. The
27   government requested that Defendants send the government any objections or additional
28   questions by February 3, 2020. Defendants advised that they would not be able to provide

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 1   a response on February 3, 2020, but would do so shortly thereafter. On the evening of
 2   February 6, 2020, Defendants sent the government an email with objections to certain
 3   questions.   Defendants’ objections have been noted next to the questions in the
 4   Government’s proposed JQ. (See Exh. A).
 5          Defendants also provided a separate proposed JQ that contained 80 questions and
 6   asked for government comments. Because the government first received Defendants’
 7   proposed JQ late last night, the government has not had sufficient time to review and advise
 8   Defendants of any objections before today’s deadline. The government will provide
 9   objections to Defendant’s proposed JQ before the next court appearance so that a joint JQ
10   can be sent to prospective jurors in advance of the May 5, 2020 trial date.
11          Respectfully submitted this 7th day of February, 2020.
12                                             MICHAEL BAILEY
                                               United States Attorney
13                                             District of Arizona
14                                             s/ Kevin M. Rapp
                                               MARGARET PERLMETER
15                                             KEVIN M. RAPP
                                               PETER S. KOZINETS
16                                             ANDREW C. STONE
                                               Assistant U.S. Attorneys
17
                                               JOHN J. KUCERA
18                                             Special Assistant U.S. Attorney
19                                             BRIAN BENCZKOWSKI
20                                             Assistant Attorney General
                                               U.S. Department of Justice
21                                             Criminal Division, U.S. Department of Justice

22                                             REGINALD E. JONES
                                               Senior Trial Attorney
23                                             U.S. Department of Justice, Criminal Division
                                               Child Exploitation and Obscenity Section
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 1                               CERTIFICATE OF SERVICE

 2          I hereby certify that on February 7, 2020, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
 7   s/ Angela Schuetta
     Angela Schuetta
 8   U.S. Attorney’s Office

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